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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  CARLOS RAMOS,

         Plaintiff,

  v.                                                   Case No. 8:18-cv-2052-T-33CPT

  ATLANTIC COAST ENTERPRISES, LLC,
  d/b/a ACE JIFFY LUBE CENTERS, LLC,

        Defendant.
  _______________________________________/

                                         ORDER

         Before the Court is the Plaintiff’s Application for Determination of Civil Indigent

  Status (Doc. 2), which the Court construes as a motion to proceed in forma pauperis

  pursuant to 28 U.S.C. ' 1915. Upon review of the Plaintiff’s Application and his

  Complaint (Doc. 1), it is hereby ORDERED:

         1.      The Plaintiff’s request to proceed in forma pauperis is GRANTED.

         2.      The Plaintiff is directed to complete and return the “Summons in a

  Civil Action” and the “USM-285” forms to the Clerk within twenty (20) days, 1

  whereupon the United States Marshal is directed to serve the appropriate parties.



  1
   Both of these forms can be found by clicking on the “Filing a Case” heading on this
  Court’s website at http://www.flmd.uscourts.gov, and then going to the “Forms” tab. The
  “Summons in a Civil Action,” form AO 440, is provided under the “Filing a Case Forms”
  section. The “USM-285” form is provided under the “Marshal Forms” section. If the
  Plaintiff does not have access to the internet to download these forms, the Plaintiff may
  obtain the forms by contacting the Clerk=s Office at 813.301.5400.
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          DONE and ORDERED in Tampa, Florida, this 21st day of August 2018.




  Copies to:
  Pro se Plaintiff




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